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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

H-D U.S.A., LLC,
                                                   Case No. 19-cv-02256
               Plaintiff,
                                                   Judge Rebecca R. Pallmeyer
v.
                                                   Magistrate Judge Sunil R. Harjani
1EVOLVE2016, et al.,
               Defendants.


                       NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff H-D U.S.A.,

LLC (“Harley-Davidson” or “Plaintiff”) hereby dismisses this action with prejudice against the

following Defendant:

                    Defendant Name                                    Line No.
                     nsautolighting                                      87


Dated this 14th day of June 2019.           Respectfully submitted,


                                            /s/ RiKaleigh C. Johnson
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                                            Justin R. Gaudio
                                            RiKaleigh C. Johnson
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